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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                 for the
                                                    Eastern District
                                                 __________  DistrictofofVirginia
                                                                          __________

                                                                   )
                                                                   )
        Tricia Campo, individually and on behalf of                )
                all others similarly situated,
                                                                   )
                            Plaintiff(s)                           )
                                                                   )                          1:20cv925
                                v.                                         Civil Action No.
                                                                   )
                                                                   )
                                                                   )
   THS Group, LLC d/b/a Total Home Protection, a
       Pennsylvania limited liability company,                     )
                                                                   )
                           Defendant(s)                            )

                                                 SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) THS Group, LLC d/b/a Total Home Protection
                                       SERVE: Corporation Service Company, registered
                                       agent Princeton South Corporate Ctr.
                                       100 Charles Ewing Blvd, Suite 160
                                       Ewing, NJ 08628




          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are:
                                       Francis J. Driscoll, Jr.
                                       (frank@driscolllawoffice.com)
                                       Law Office of Frank J. Driscoll Jr. PLLC
                                       4669 South Blvd., Suite 107
                                       Virginia Beach, VA 23452
                                       Tel: 757-321-0054

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                              CLERK OF COURT
                                                                                                         Digitally signed by Dana Van
                                                                                                         Metre
Date:       08/17/2020                                                                                   Date: 2020.08.17 11:43:43 -04'00'
                                                                                        Signature of Clerk or Deputy Clerk
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 Civil Action No.

                                                     PROOF OF SERVICE
                     (This section should not be filed with the court unless required by Fed. R. Civ. P. 4 (l))

           This summons for (name of individual and title, if any)
 was received by me on (date)                                         .

           u I personally served the summons on the individual at (place)
                                                                                on (date)                             ; or

           u I left the summons at the individual’s residence or usual place of abode with (name)
                                                                 , a person of suitable age and discretion who resides there,
           on (date)                               , and mailed a copy to the individual’s last known address; or

           u I served the summons on (name of individual)                                                                      , who is
            designated by law to accept service of process on behalf of (name of organization)
                                                                                on (date)                             ; or

           u I returned the summons unexecuted because                                                                              ; or

           u Other (specify):
                                                                                                                                           .


           My fees are $                           for travel and $                  for services, for a total of $          0.00          .


           I declare under penalty of perjury that this information is true.


 Date:
                                                                                            Server’s signature



                                                                                        Printed name and title




                                                                                            Server’s address

 Additional information regarding attempted service, etc:
